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TRANSCRIPT OF “THE PARTS THE ATF WISHES NEVER EXISTED”

Posted to CRS Firearms YouTube channel on November 11, 2020

MH = MATTHEW RAYMOND HOOVER

[Title slide reading: “This Is A Educational Video But.... By No Stretch
Of The Imagination Does It Give You All Knowledge Required To
Manufacturer A Machine Gun And/Or A Silencer’]

[Caption reading “The Red Mark On My Lip Was Definitely Contracted
From A Stripper’] With all the chaos that's been going on lately, let's
just take a second, you know, just close your eyes and take a deep
breath. In with the good; out with the bad. Jean-Claude Van Damme
[sound effect]. 'Cause we don't even know who the hell is president. It
could be Trump. It could be Biden, and might end up — wind up — might
— being Kamala Harris. Hell, Nancy Pelosi is kind of even the center of
who could wind up being president. So it's just nice to relax. So let's
make a — sorry. Let's make a video that's just America [donkey sound
effect].

So what are kind — some of the very affordable, easy-to-do
modifications for you to make your very own machine gun or silencer?
Now you're gonna find a bunch of people in the comment section.
They're dangerous to themself, and a danger to others. Their
comments will be easy to spot because they will be worded something
along the lines of, you're a disservice to the community, or you're gonna
wind up in prison, or I'm an ATF agent, and I'm watching this, or oh my

God, I'm on an ATF watch list.

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Why that's dangerous is because they are proving that if any gun law

were to come down on these parts that are currently legal — well, kind of
legal — they will comply to it. And what is the difference between, like,
say the prohibition and the 1986 fire control, or the full auto ban? The
prohibition had zero compliance. The machine gun ban, everybody
complied. Laws only work if we follow them. If there's zero compliance,
they have to be removed because what's the point then, or are they just
gonna walk around and stomp their feet and make angry faces? Kind of
like, why dope's slowly becoming legal. Everybody openly defied the
law. Hell, Kamala Harris, she even admitted to breaking a federal law
by smoking dope.

Again, it all comes down to compliance. Now, am | saying everybody
should click off of this video and go in the garage and drill a third ho —
hole in their firearm? No, that ship long sailed. In order for that to work,
it would have had to happen in the late '80s or early '90s, and it would
have had to have been an effort where everybody at the same time
converts all their semi-automatic firearms to machine guns to where
there's zero compliance, and then there's no reason to have the law in
the book.

Ultimately, we will be looking at all repeating firearms being banned in
the country. As long as things keep moving the way they are, it might
not be in our lifetime, but it will ultimately happen. It's the only way the
cities and population centers can keep control on the rural folk, is to pull

out their teeth.

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So let's go over the list of really awesome stuff you may have not

known about. Number one on the list: the lightning link. This is actually
the sponsor of this video. They seen my last video, and they're like,
"Hey, that was pretty awesome what you did. Uh, can we sponsor some
of your videos?" I'm like, "Yes, as a matter of fact, you can. | have
roughly four more ideas — video ideas with the lightning link I'm gonna
plan on putting out."

So jump on AutoKeyCard.com. They even have discrete ordering. You
just go to your local library, print off the order form, shove a money
order in there, and have it shipped to your anti-gun relative and pick it
up there, so your name is not associated with the lightning link at all.
But to be honest, this isn't gonna get banned. Now the difference
between these and the old Lightning Links that did cause problems,
these are not cut out. The old ones were 100% cut out. It was just a
couple of small pieces of metal holding them in the original piece. All's
you had to do was take your finger, pop it out. Boom. You have a
machine gun.

This is just a drawing on a piece of stainless steel. That's it. It's justa
drawing, nothing more. YOU have to manufacture it. But one of the cool
things about the lightning link -- now these are designed specifically for
Colt SP1s or SP1 style bolt carriers. You can drop them in your
receiver, scratch your full auto itch, throw it away when you're done. No
one's the wiser. You still have a transferable firearm, and you didn't get
your dog shot. Definitely don't go on the internet and upload videos with

you using this.

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Number two on the list is the swift link. Now | don't actually have one on

the table. So we're just rolling a little picture right here. Depending on
what bolt carrier it's designed for. It works for several. The reason |
don't have one on the table is this is not something that's meant to be
purchased. What this is meant is for you and about 10 of your friends to
all pool together, buy a 3D printer and print them off, so there's zero
paper trail. You can take your firearm out to your uncle's woods. Look
left. Look right. No one's looking. Bam, drop it in the receiver, scratch
your full auto itch, take it out, start it on fire with your lighter. No one's
the wiser. You don't go to federal pound me [donkey noise] prison, and
you scratch your full auto itch for less than $15,000.

Next one on the list, the rubber band. So what's basically gonna
happen with the rubber band modification is you're gonna take a couple
of rubber bands. You will put them over your mag well behind your
trigger, and once you've achieved enough rubber bands on there, when
you fire the firearm, it will reset the trigger using the recoil of the firearm.
Therefore, you get to fire a machine gun for about 59 cents. You take
them off when you're done. Everyone goes home safe. And again,
since we're about the halfway point, the point of this video is, is to help
with compliance. For example, red dots were almost banned because
they did not have a sporting purpose. As a matter of fact, you couldn't
even hunt with them in Wisconsin for years. But because they had zero
compliance to that, and everybody got red dots because they're frickin’

awesome, they were not able to ban them.

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Next on the list: the coat hanger machine gun. You go pick up your dry

cleaning, have a couple extra metal coat hangers, jump on Google,
type in “coat hanger machine gun,” and it will show you exactly where
you need to bend this. With this pair of pliers, drop it in your lower
receiver. Boom, you have a machine gun. You've just scratched your
full auto itch. When you're all done, you throw it away. Everyone goes
home safe.

Next one, oil filter adapter. So if you're not fond with being on an NFA
registry, but yet you still want to see what a silencer is, like, you know,
for tests and evaluation, you can buy these adapters. On the inside, it's
half an inch by 28. On the outside, it's three quarter by 16, which just so
happens to be the oil filter design. Believe it or not — | shit you not — |
bought this little thing at Walmart. | seen it, and | was, like, mine.
They're everywhere because pipe thread changes sizes constantly.
Like Lowe's is probably the NFA nightmare. With $100 and a Lowe's
loyalty card, you can basically break every firearm law that is on the
books.

Now you have that adapter on the end of your rifle. It's pretty obvious
what you're doing. Yeah, you can be like, "Oh, it's ‘cause | put an oil
filter on there, and that's my solvent trap, and that's how | clean my
firearms. However, there's another option. What you can do if you know
what you're looking for, you can buy muzzle brakes. This bad boy
screws right on the end of your firearm. It always stays on the end of
your firearm. Nobody's the wiser. However, the thread pattern right here

is three quarter by 16, which is an oil filter thread pattern. So you shoot

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your firearm like normal. Everything is all hunky-dory. Good to go, and

when you look left, and you look right, and nobody's paying attention,
you can screw that bad boy on there quick. Take a couple of shots.
Crush it when you're done. Nobody's the wiser. Everybody goes home
safe. No harm, no foul.

Next one that everybody gets so fired up about is the solvent trap. Now
there are American companies that do these. There really are, and
American companies that do these need to be supported because,
worst-case scenario, they're the ATF cannon fodder. So instead of the
ATF trying to come up with tricky little ways to take away our repeating
firearms, now they got to figure out a way and put all their focus to try to
take away this, and then taking away repeating firearms goes on the
back burner.

This particular one was made in China, about $12. As you notice inside
of it, there are some cones and this spacer right here. So what this is, is
your expansion chamber, and then you got your cones. All you have to
do to make this a silencer is drill through all these parts. Now by itself, it
is absolutely not a silencer. If | were to screw this on the end of the
firearm and shoot it, | would definitely blow this off. | may cause
damage to the firearm, and | may cause injury to myself. There's no
possible way this could ever be considered a silencer because it's not.
What their camouflaged use is for is solvent traps. So what you're
supposed to do is you put this on the end of your firearm. When you run
your patch through, this catches the solvent that drips out in the patch,

and then you can take out however many cones you need so you can

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run your rod down as far as you want. Now, you could actually legally

make — form one this and make this a silencer, and then everybody is
gravy. You get to keep it forever. You could also do it with these muzzle
brakes. Should you choose not to, you spent $12. You've got your
silencer scratch, nice and good and scratched. And you melt this in the
bonfire because it's made out of aluminum, and it will melt.

Number seven, the binary trigger. So what this is, is a trigger. You can
— right as of the filming of this video — legally purchase. How long will it
stay that way? | don't know, probably not very long. Anyway, you have
three positions. You have safe, semi, auto. What happens when you go
to auto? You pull the trigger, the firearm fires. The bolt comes back. It
goes forward as you let go of the trigger. It fires again. So one pull of
the trigger, you get two shots, and you can hover the trigger
somewhere in the middle where the recoil will start resetting the trigger,
and it will spray full auto. It's kind of cool. A little bit expensive to get
into, but still Kind of cool. And we need to buy stuff like that, so they
have money for attorneys. So if the ATF ever goes against them, they
can try to fight it.

Number eight, the pistol brace. This bad boy is actually on the chopping
block right now, just like wnen the bump stocks went on the chopping
block. Everybody's like, "Oh, you don't need a pistol brace. That's
stupid. And if you're gonna have a short-barreled rifle, you might as well
just get the tax stamp and do the short-barreled rifle the right way." This
will ultimately get banned. There's just not enough support and enough

defiance to the law to where it won't. And it's really sad because it's

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nice. Ultimately, what will probably happen is the ATF will put together a

roster, and if your pistol is not on the roster, it is a short-barreled rifle.
That's the only way they can do it with the steps that they're already
making. But yeah, | mean, it sucks because that was really nice, and
they made huge strives at reversing a lot of the really stupid gun laws
that are out there.

Anyway, if you're an American, America. If you're not, and you're
seriously gonna write a letter to the ATF after this video telling them to
check it out because you've decided you're so smart. You're the only
person that's thought about these, and showing this video is somehow
gonna make us lose repeating firearms sooner because compliance
works. Like that's how we stop firearms laws is we all comply to them.
You're a moron.

Anyway, if you'd like to help support the channel, got my Patreon right
there. | also have affiliate links in the description down below. Just by
clicking on those links — even if you don't buy with the link is for — then
doing the Amazon shopping you were gonna do anyway, | get a little
kick back for it because you went there off my channel. Thank you for
watching. Don't forget to subscribe.

(CONCLUSION OF VIDEO)

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